         Case 1:21-cr-00294-RC Document 1-1 Filed 03/17/21 Page 1 of 12




                                    STATEMENT OF FACTS
        On January 6, 2021, your affiant, Peter W. Wall, was on duty and performing my official
duties as a Special Agent with the Federal Bureau of Investigation (“FBI”). Currently, I am tasked
with investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a
Special Agent, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.
       Unless otherwise stated, the information in this Affidavit is either personally known to me,
has been provided to me by other individuals, or is based on a review of various documents,
records, and reports. Because this Affidavit is submitted for the limited purpose of establishing
probable cause to support an application for an arrest warrant, it does not contain every fact known
by me or the United States. The dates listed in this Affidavit should be read as “on or about” dates.
        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.
        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.
       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.
       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.
       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

                                                 1
         Case 1:21-cr-00294-RC Document 1-1 Filed 03/17/21 Page 2 of 12




President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there. JEREMY J. VOROUS (hereinafter “VOROUS”) of Venango,
Pennsylvania, traveled to the District of Columbia to participate in a rally and protest at the U.S.
Capitol.
         VOROUS gained entry inside the U.S. Capitol on January 6, 2021. The FBI received two
tips which included screenshots of VOROUS’ Facebook page where VOROUS wrote “Yeah we
in dis mofo,” and “Bout to rush in again diff door.” VOROUS’ Facebook page also included
photos taken of the riot, including inside the Capitol. The screenshots contained two photos which
appeared to depict VOROUS inside the U.S. Capitol. VOROUS was also interviewed by the Erie
Times-News after photos on social media appeared to show him inside the U.S. Capitol. 1 The
article reported that “Jeremy Vorous, of Meadville, was in that crowd.” The article further reported
that “Photos on social media appeared to show him inside the U.S. Capitol.” When contacted by
the outlet, the article reported that “Vorous said Thursday by phone that he wasn't sure if he had
anything to say.” According to the article, VOROUS also said “I'm also under investigation by
the FBI," he said, joking that he might leave the country. “Peru is nice.”
        VOROUS posted to Facebook, which your affiant acquired from an anonymous online tip
to the FBI, a photo showing himself in the Capitol Crypt in front of the bust of Abraham Lincoln
saying “does that look staged to you I promise the beanbags were real the mase is still burning on
me aft a shower and 6hrs, the gas was real the flash grenades were also real the dead girl was 10ft
from me”. See Figure One, below. In the photo, VOROUS is depicted wearing a dark long-sleeved
shirt with “NOT TODAY LIBERAL” in white letters on the front and holding a red, white, and blue
cowboy-style hat.




1
 https://www.goerie.com/story/news/politics/2021/01/08/erie-area-man-attended-d-c-riot-you-
have-think-yourself/6595522002/
                                                 2
         Case 1:21-cr-00294-RC Document 1-1 Filed 03/17/21 Page 3 of 12




                                           Figure One

        VOROUS also posted to Facebook a photo showing himself in front of a statute with the
caption “We will take what we want” which the FBI obtained from an online tip by an identified
individual. See Figure Two, below. In the photo, VOROUS is depicted wearing the same clothing
as in Figure One. The statute VOROUS poses in front of is the statue of John Caldwell Calhoun
of South Carolina, which is also located in the Crypt of the Capitol.




                                           Figure Two
        VOROUS also posted messages on Facebook talking about the “coordination” of the
attack on the Capitol, as well as the fact that “we took” the Capitol Building, which your affiant
obtained from an anonymous online tip to the FBI. See Figure Three, below.




                                                3
        Case 1:21-cr-00294-RC Document 1-1 Filed 03/17/21 Page 4 of 12




                                       Figure Three


       VOROUS also posted on Facebook messages and photos of his presence on and in the
Capitol on January 6, 2021, which law-enforcement obtained via an anonymous tip to the
Metropolitan Police Department. The photos show the violent entry into the Capitol through a
broken window, as well as his comment “Yeah we in dis MOFO.” See Figure Four below.




                                        Figure Four

                                             4
         Case 1:21-cr-00294-RC Document 1-1 Filed 03/17/21 Page 5 of 12




       VOROUS also posted on Facebook messages and photos of his presence outside the U.S.
Capitol on January 6, 2021 as a crowd of rioters pressed up against the doors of the U.S. Capitol
building, which law-enforcement obtained via an anonymous tip to the Metropolitan Police
Department. One of the photos shows the crowd up against the doors, as well as his comment
“Bout to rush in again diff door.” See Figure Five, below.




                                          Figure Five
       On January 29, 2021, VOROUS was interviewed by an agent of the FBI at his residence
in Venango, Pennsylvania. VOROUS admitted to being at the Capitol, and inside the Capitol
building on January 6, 2021. VOROUS said he did not go to commit violence, but believed it
would be like the protests in Wisconsin a few years ago, i.e., peaceful protests. VOROUS also

                                               5
         Case 1:21-cr-00294-RC Document 1-1 Filed 03/17/21 Page 6 of 12




said that he believes someone had an agenda and got people to do things they had no intention of
doing otherwise trying to make them look like terrorists. VOROUS identified himself in some of
the Facebook photos presented by the agents, and specifically identified himself as the subject in
the photo with the Lincoln bust (Figure One, above).
        VOROUS further stated that he was outside the Capitol building when police started
shooting mace into the crowds. VOROUS stated that while within the mass of people outside the
Capitol building, he said he saw a woman “go down” and tried rescuing her before she got trampled
or arrested.
        VOROUS said that, at some point, he was inside a big crowd, but still outside the building.
VOROUS admitted to yelling to those in front of him to push forward towards the Capitol
building. VOROUS said that people behind him were pushing into him causing him to get stuck
in the middle and that he was fearful of getting hurt.
        VOROUS said that, among other pictures within the group of pictures VOROUS said he
posted and/or took photographs of, is a large door that appears to be propped open. VOROUS
claimed that people appear to be walking in and out of the door. VOROUS also mentioned there
is a video of him at the Capitol building. VOROUS said he was outside the U.S. Capitol
building standing around with his back to a large main door, and that, at some point he said he
turned around and saw people walking in the door from outside the building near where he was
at. VOROUS said he thought someone from inside opened the door as the door was held
(propped) open. VOROUS said he walked in with other people and saw that police officers
were standing around. He said they made no attempts to tell people to leave nor did they say
anything about the people being in an area where they were not allowed. According to
VOROUS, the people inside this area were not violent and were not destroying or taking
anything. VOROUS said he had no idea that other people were inside causing destruction.
VOROUS said he was not privy to that information until later. VOROUS said he believed the
large door was opened by the police, due to the fact the door was propped open for people to
come and go as they please. VOROUS said he knows about trespassing laws and would never
have entered if he believed he was trespassing.

        At some point, VOROUS said he asked a police officer if he could take a selfie. Instead,
VOROUS said that the police officer took VOROUS’ cell phone and allowed VOROUS to go
up to a statue. VOROUS said that the police officer then used VOROUS’ cell phone to take a
picture of VOROUS. VOROUS said that the police officer was nice and never said anything to
him about not being able to be there or that he was trespassing. VOROUS said he asked a
different police officer if he could walk over to a pool and wash his eyes out. VOROUS said the
officer told him he could do so. VOROUS said that while VOROUS was cleaning his eyes out
at the pool, two different female officers walked up to him and asked if he required medical
assistance. VOROUS said that they advised there is an ambulance outside that he could utilize
if he was having problems with his eyes. VOROUS said he noticed more police officers coming
in who were dressed differently than those inside. VOROUS said that he walked up to another
officer and asked where he could leave from. VOROUS said that the officer looked around and
wondered the same, before walking over to someone who looked like they were in charge.
VOROUS said that this officer had stripes on his arm. VOROUS said that they spoke for a few
seconds before that original officer came back and said if you want to leave, grab as many people

                                                6
         Case 1:21-cr-00294-RC Document 1-1 Filed 03/17/21 Page 7 of 12




as you can and leave out that door now, pointing to a different door than the one VOROUS had
originally entered through. VOROUS said that, knowing he needed to leave, yelled to others that
they also needed to depart the building. VOROUS said that he and some others then walked out
the building. Law enforcement, during reviews of videos, has been unable to corroborate
VOROUS’s statements about police officers taking photos.

        VOROUS said that he had seen some of the damage while he was there, and then later
heard the extent of what happened inside the building. VOROUS said that he was not one of the
persons that destroyed anything nor did he ask anyone to do it. According to VOROUS, he went
back to the Capitol building area the next day and walked up to Capitol police officer to self-
report. VOROUS said that he told them he was inside the building and had lost his cell phone.
VOROUS said that he was not trying to hide anything, but was letting them know so if he did
anything wrong they would know who he was and where to find him. VOROUS said that the
Capitol Police wrote down his information and let him depart.

        The interviewing FBI agent reviewed VOROUS’ driver’s license photograph, social
media posted photographs, and photographs identified by VOROUS. Based upon a review and
comparison of VOROUS’ driver’s license photograph to the Facebook posts, the interviewing
FBI agent can say that both have common characteristics, but cannot say they are an exact match
due to the changes from the driver’s license photograph. The interviewing FBI agent can say
that the Facebook photographs appear to be that of the person he interviewed, known to the agent
as JEREMY J. VOROUS.
        Your affiant obtained video footage of VOROUS at the Capitol building which the FBI
obtained from an online tip by an identified individual. VOROUS is seen exiting the Capitol.
VOROUS says words to the effect of “we’ve been in there. Ain’t nothing going on.” A screen
shot from that video is depicted in Figure Six, below.




                                           Figure Six

       You affiant also reviewed Body Worn Camera footage and observed VOROUS in two
apparent confrontations with U.S. Capitol Police on January 6, 2021 outside of the U.S. Capitol
Building.



                                               7
         Case 1:21-cr-00294-RC Document 1-1 Filed 03/17/21 Page 8 of 12




                                    Figure Seven
Both confrontations occurred prior to VOROUS’ entry into the US Capitol building. In one
confrontation, your affiant observed VOROUS appear to be yelling at law enforcement officers
holding a barricade on US Capitol grounds resulting in VOROUS apparently being pepper
sprayed by law enforcement.




                                    Figure Eight
        Several minutes later, VOROUS engaged in a verbal altercation with law enforcement
lasting several minutes. VOROUS was apparently angry with law enforcement officers after
being pepper sprayed and claimed he would go after them “blind.” Your affiant can hear
VOROUS call officers “cowards” and yell obscenities on the video. VOROUS also said words
to the effect that law enforcement were “preventing me [VOROUS] from getting into my
house.” At one point VOROUS took out his cell phone and appears to record a video standing in
front of law enforcement and yell words to the effect “when I can fucking see again, I am ready
to go at these pussies again.”
    Your affiant also uncovered additional publicly available video footage showing
VOROUS on the grounds of the U.S. Capitol. A YouTube video titled “Storming the Capitol –



                                               8
           Case 1:21-cr-00294-RC Document 1-1 Filed 03/17/21 Page 9 of 12




Street interviews” shows VOROUS shouting words to the effect of “God dammit, when you all
gonna get mad about something? When you all gonna fight?” 2




                                   Figure Nine
       In a separate YouTube video titled “LIVE: Tensions rise in DC after Trump supporters
storm into US Capitol” VOROUS can be heard saying that he has been maced three times and
pepperballed. 3




                                   Figure Ten

2
     https://www.youtube.com/watch?v=sLa98fB0Elw.
3
    https://www.youtube.com/watch?v=tyucp7rZSc4ip&feature=youtu.be
                                             9
         Case 1:21-cr-00294-RC Document 1-1 Filed 03/17/21 Page 10 of 12




At another point, VOROUS can be seen and heard yelling words to the effect of “I’ll take this
joint off.”




                                      Figure Eleven
        Your affiant also received the recording from the FBI’s National Threat Operations Center
(NTOC) of the call VOROUS made to FBI on 01/10/2021 at 4:16am EST. In that recording,
VOROUS called to report that he was in the U.S. Capitol building on January 6, 2021. He said
he was in the building and went to the Capitol Police the next day to report himself. VOROUS
said that he absolutely did not participate in the rioting or take anything.
        Your affiant was able to review footage from the Capitol that shows VOROUS in the Crypt
area of the U.S. Capitol building. The footage shows VOROUS walking around inside the Capitol.
       In addition, your affiant was able to review footage of VOROUS entering the U.S. Capitol
building. Your affiant has learned from separate sources that at the time of his entry, loud audible
alarms were going off in the area and the windows adjacent to point of entry were broken out.




                                      Figure Twelve


                                                10
            Case 1:21-cr-00294-RC Document 1-1 Filed 03/17/21 Page 11 of 12




       Your affiant also viewed a publicly available video titled ”‘Stop the Steal’ Rally Turns
Violent as Protesters Storm Capitol Building, Shut Down Congress.” 4 In that video, VOROUS
can be seen and heard yelling “I will be here until we drag these motherfuckers out.”




                                             Figure Thirteen


        Based on the foregoing, your affiant submits that there is probable cause to believe that
JEREMY J. VOROUS violated 18 U.S.C. §§ 1752(a)(1) and (2), which make it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do so;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions or attempts or conspires
to do so. For purposes of Section 1752, a “restricted building” includes a posted, cordoned off, or
otherwise restricted area of a building or grounds where the President or other person protected by
the Secret Service, including the Vice President, is or will be temporarily visiting; or any building
or grounds so restricted in conjunction with an event designated as a special event of national
significance.
       Your affiant also submits there is also probable cause to believe that JEREMY J.
VOROUS violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which make it a crime to willfully and
knowingly (D) engage in disorderly or disruptive conduct, at any place in the Grounds or in any
of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a
session of Congress or either House of Congress, or the orderly conduct in that building of a
hearing before, or any deliberations of, a committee of Congress or either House of Congress, and
(G) parade, demonstrate, or picket in any of the Capitol Buildings.

       Finally, your affiant submits there is also probable cause to believe that JEREMY J.
VOROUS violated 18 U.S.C. § 1512(c)(2), which make it a crime to corruptly (2) otherwise
obstruct, influence, or impede any official proceeding, or attempts to do so.

4
    https://coffeeordie.com/protestors-storm-capitol-building/

                                                         11
        Case 1:21-cr-00294-RC Document 1-1 Filed 03/17/21 Page 12 of 12




                                             _________________________________
                                             PETER W. WALL
                                             SPECIAL AGENT, FBI


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 17th day of March 2021.


                                            ___________________________________

                                            U.S. MAGISTRATE JUDGE




                                               12
